        In the United States District Court for the Northern District of Texas
                                       Dallas Division


Sonya L. Chapman                             §
             Plaintif f                      §
V.                                           §              No. 3:23-cv-00799-K-BN
                                             §              Jury Demand
ADT LLC et seq                               §
            Defendant                        §
                                             §


      Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
                                          Jurisdiction and Venue
       1. Jurisdiction is invoked pursuant to 28 U.S.C. Sec. 1343 (a)(4) and 28 U.S.C. Sec.
          1331.
           This is an action at law and equity to redress violations of Title VII of the Civil
           Rights Act of 1964, 42 U.S.C. Sec. 1981, declaratory and injunctive relief pursuant to
           28 U.S.C. Sec. 2201 and 2202
                                        Discovery Plan
       2. Plaintiff intends to conduct discovery in this matter under Level 1, 2, and 3 of the
          Texas Rules of Civil Procedure.
                                             Parties
       3. Plaintiff Sonya L. Chapman is a citizen and resident of the United States, residing in
          Dallas County, Texas.
       4. Defendant is a limited liability company organized under the laws of the state of
          Delaware with its principal place of business located at 1501 Yamato Rd. Boca
          Raton, Fl 33431.


                                                 Discussion
       5. As discussed in the Court’s Findings, Conclusions, and Recommendation page 3 ID
          222, a plaintiff need not establish a prima facie case to survive judicial screening
          under Section 1915(e)(2)(B). Cf. Cicalese v. Univ. of Tex. Med. Branch, 924 F.3d
          762, 766 (5th Cir. 2019); Raj v. La. State Univ., 714 F.3d 322, 331 (5th Cir. 2013).
6. Plaintiff submits with this her response to the courts Findings, Conclusions, and
   Recommendations a Supplemental Statement of Claims to better describe actions
   taken by Defendants in support her cause of action for discrimination.
                            A. Cause of Action-Right to Relief
7. Plaintiffs claim is Racial Discrimination pursuant but not limited to the following:
8. Plaintiff contends “Defendants” do not have a legal basis for relief, as according to 28
   U.S.C. 102, and 103 “any other undertaking or promise in conflict with public
   policy… , shall not be enforceable in any court of the United States and shall not
   afford any basis for the granting of legal or equitable relief by any such court”.
   Plaintiff submits this as her statement that “Defendants” intended to deprive Plaintiff
   of protections granted by Title VII, 42 U.S.C. 1981(a), 7th Amendment to the United
   States Constitution, and not as a framework to further “Defendants” scheme to
   deprive Plaintiff of equal employment, and to avoid responsibility for committing
   unlawful employment practices.
9. Title VII of the Civil Rights Act of 1964 provides for declaratory, injunctive,
   compensatory, and equitable relief through section 2000e-5 [Sec.706] for claims
   brought under section 2000e-2(m) of this title [section 703(m)].1 42 U.S.C 1981a(c)
   provides for a jury trial, and damages including but not limited to damages under
   706(g) of Title VII and or 42 U.S.C 1981a(c). Plaintiff has made a demand for jury
   trial.
10. Plaintiff requests declaratory relief and hereby invokes an entitlement to declaratory
    relief.
11. Plaintiff damages include loss of wages, emotional distress, loss of enjoyment of life,
    pecuniary, nonpecuniary losses, and loss of consortium.
12. Plaintiff contends she is being required to plead her claim past what is required
    according to the Fed. R. Civ. P. 8.
13. In Littlejohn v. City of New York No. 14-395 (2d Cir. Aug, 3, 2015) the court held that
    a Title VII plaintiff satisfies a rule 8 pleading standard of “plausibility’ under Iqbal
    simply by alleging the prima facie elements of her case.
14. Plaintiff contends she is making a good faith effort to plead a right to relief, a
    plausible claim for relief as ordered by the Court.
15. Plaintiff contends the seventh (7th) amendment requires factual issues be reviewed by
    a jury.2




Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
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16. Plaintiff contends deposing “Defendants” will allow her to further her statement of
    the differential treatment including but not limited to refusal to train, depriving
    Plaintiff of her promotion, making false performance review and or false disciplinary
    actions.
17. Plaintiff was not promoted, and discharged by Defendants due to her race and her
    opposing “Defendants” treatment.
18. “Defendants” did not have a formal written complaint policy. Plaintiff was unable to
    make a formal complaint. Plaintiff did oppose “Defendants” treatment verbally
    directly to the training manager Ashley Merrick, and directly to the training mentors
    Samuel McLaughlin, and Latoya Lunan.
19. Once Plaintiff spoke to training manager Ashley Merrick and asked about making an
    appeal to the decision to discharge her and she said there was not an appeal process,
    Plaintiff sent an email to the HR manager Bryan Brown, to ask if he could help and
    he said the decision to terminate Plaintiffs employment was final. (Please see Exhibit
    1 email sent to Bryan Brown, and audio of conversation with Ashley Merrick
    submitted)
20. Plaintiff’s racial characteristics how she speaks is used by “Defendants” to discharge
    her employment. Plaintiff’s skill and or qualifications were not considered in
    discharging her from her employment.
21. “Defendants” decision to discharge Plaintiff from her employment because of her
    “language” is prejudiced treatment.
22. Defendant failed to promote, and discharged Plaintiff because of Plaintiffs race, and
    Plaintiff opposing actions committed by Defendants.
23. “Defendants” promoted similarly situated white employees while refusing to promote
    Plaintiff.
24. Plaintiff was qualified for her position, but was discharged as not being qualified.
25. “Defendants” continued to post openings for the same position for applicants with
    qualifications similar to Plaintiffs. (Please see attached exhibit 2).
26. Defendants continued to post job openings for the same position they discharged
    Plaintiff from. (Please see attached exhibit 2).
27. Plaintiff applied for a different position prior to and after her termination. Due to
    “Defendants” making negative false performance reviews Plaintiff was ineligible for
    rehire. (Please see attached exhibit 2).




Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
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28. “Defendants” reasons for their actions were inconsistent for the differential treatment
    to Plaintiff and other similarly situated employees who had the same questions, but
    were allowed to train, be promoted, and were not discharged for doing the same thing
    Plaintiff did. Dkt. No. 12-3 Exhibit 5-8, pages 11-58.
29. “Defendants” first on February 8, 2022 in their verbal warning said their reason for
    disciplinary action was for unprofessional behavioral issues. Dkt 12-2, Exhibit 2,
    page 3.
30. “Defendants” then said on February 28, 2022 in their final written warning Plaintiff
    had made “tremendous” improvements with her behavior. Dkt 12-2, Exhibit 2, page
    4.
31. “Defendants” in their final written warning on February 28, 2022 created an
    “Employee Plan 1” for Plaintiff to “utilize resources … , to perform this role on your
    own prior to graduation. Work on multitasking from chat to phone, work to ensure all
    workload gets handled in a timely manner”. Dkt. No. 12-2, Exhibit 2, pages 4.
32. On March 4, 2022 no one in the training class was able to “perform their role prior to
    or after graduation including ensuring all workload gets handled in a timely manner”,
    as shown in Dkt. No. 12-3 Exhibit 5-8, pages 11-58.
33. “Defendants” told Plaintiff she made and or passed graduation on March 4, 2022 and
    sent out graduation invitations please Dkt. No. 12-3 Exhibit 5 -8, pages 22-23.
34. “Defendants” never intended for Plaintiff to get her promotion and or be employed at
    her new role.
35. Plaintiff had to ask the trainer Latoya Lunan to recap what Plaintiff was lacking at the
    end of the day.
36. Plaintiff had to ask the trainer Samuel McLaughlin on February 28, 2022 the day of
    her final written warning to recap what Plaintiff was lacking at the end of the day,
    because “Defendants” were making false disciplinary actions.
37. “Defendants” falsely made it look as if Plaintiff did not want to participate in an end
    of the day review in their corrective action. Dkt. 12-2, Exhibit 2, page 3.
38. Similarly situated white individuals outside of Plaintiffs race were treated more
    favorably.
39. “Defendants” have a pattern and practice of using disciplinary actions as an unlawful
    employment practice.3




Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
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40. Other similarly situated employees had questions, as shown throughout Plaintiffs
    complaint, please see Dkt. No. 12-3, Exhibit 8 pages 11-58 chat communication other
    employees asking for help. Please see Plaintiffs Supplemental Statement of Claim in
    Response to the Courts Findings, Conclusions, and Recommendation section I
    Statement of Material Facts(11) Challenged Actions Sections A-O.
41. “Defendants” targeted and singled Plaintiff out by promoting others based on their
    racial characteristics and denying Plaintiff a promotion based on her racial
    characteristics.
42. “Defendants” actions were outrageous and unconscionable due to their continuation
    coupled with the false performance review “Defendants” made.
43. Please see the Courts Findings, Conclusions, and Recommendation Dkt. 13 page 1
    paragraph 3 line 12-14, the Court recognized Plaintiff has identified “the elements of
    a prima facie case of employment”, “she so far has not pled a plausible prima facie
    case by alleging facts to support each element she concludes she meets”.
44. Plaintiff contends she in this her response to the Courts Findings, Conclusion, and
    Recommendation has pled facts to support she received adverse treatment, (denial of
    a promotion based on her race and opposing “Defendants” treatment) which she
    contends is separate from wrongful termination due to Defendants dual action of
    discharging Plaintiff for failure to perform job duties, along with refusing to train her
    for her new position denying her a promotion and their ultimate decision to terminate
    her employment.
45. Plaintiff contends refusing to train her is a separate act from wrongful discharge.
46. Plaintiff contends she has pled facts related to her protected class status and the
    actions committed by “Defendants” to violate her protected class status.
47. Plaintiff contends she has pled facts surrounding adverse treatment in this her
    response to the Courts Findings, Conclusions, and Recommendation, in her
    Supplemental Statement of Claim in Response to the Courts Findings, Conclusions,
    and Recommendation.
48. Defendants replaced Plaintiff with someone outside of Plaintiffs race with same or
    similar experience and or work requirements of Defendants.
49. It is common knowledge that training is required for a new job position “Defendants”
    knew or should have known to exclude Plaintiff from training that was given to
    similar situated white employees was violative and or discriminatory.




Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
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50. Plaintiff claims “Defendants” intentionally caused harm by making a false statement
    that she willfully abandoned her work while on the clock, implying Plaintiff stole
    time which Plaintiff claims defamation for such actions.
51. There is not a defense to defamation if the action is a false statement. Truth is the
    only defense.
52. “Defendants” by doing business in the State of Texas can receive tax credits
53. Plaintiff contends “Defendants’ discharged her based on her performance and this
    fact is a material fact.
54. Plaintiff asks the Court to take judicial notice that “Defendants’ did not controvert
    Plaintiffs allegations in their Motion to Dismiss.
55. Plaintiff contends the conditions of her employment were altered, and for her
    workplace to be found sufficiently hostile,” the relevant evidence is that “the
    conditions of the victim’s employment have been altered by the harassment”. Ramsey
    286 F.3d at 268.
56. “It is well established that under the totality of circumstances test, a single incident of
    harassment, if sufficiently severe could give rise to a viable Title VII claim”, Henry v.
    Corp Car Servs. Hous., Ltd 625 F. Appx 697, 611-12 (5th Cir 2015) quoting EEOC v,
    WC &M enters., 496 F.3d 393, 400 (5th Cir. 2007) cert denied `36 S. Ct. 104 (2015).
57. “Defendants” intentionally, with malice, jointly, and severally, conspired to deprive
    Plaintiff of her promotion, good performance reviews, and employment.’
58. “Defendants” regularly practice this behavior as a continuing violation of prohibited
    employment practices. 4
59. Plaintiff asks the court to consider the totality of the circumstances in her complaint.
   Please refer to Plaintiffs Supplemental Statement of Claim submitted herein;
   Plaintiffs Amended Complaint Cause No. 3:22-cv-02188-D-BN, Dkt 12 pages 2-26;
   and Plaintiffs Original Petition Cause No. 3:23-cv-00799-K Dkt. 1-1 pages 2-24 for
   any supporting statements Plaintiff failed to mention.
60. Title VII of the Civil Rights Act of 1964, Unlawful Employment Practices Sec. 42
    U.S.C 2000e-1 [Section 703], et seq
       a. It is an unlawful employment practice to fail or refuse to hire or to discharge
          any individual, or otherwise to discriminate against any individual with




Plaintiffs Response to the Courts Findings, Conclusions, and Recommendation
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          respect to his compensation, terms, conditions, or privileges of employment,
          because of such individual’s race, … , or national origin; or
       b. to limit, segregate, or classify his employees or applicants for employment in
          any way which would deprive or tend to deprive any individual of
          employment opportunities or otherwise adversely affect his status as an
          employee, because of such individual’s race, color, …, sex, or national origin.
          Plaintiff made a statement describing Defendants unlawful practices in
          Plaintiffs compensation, terms, conditions, or privileges of employment,
          please see Plaintiffs Supplemental Statement of Claim submitted herein,
          Plaintiffs Amended Complaint Cause No. 3:22-cv-02188-D-BN, Dkt 12
          pages 2-26; and Plaintiffs Original Petition Cause No. 3:23-cv-00799-K Dkt.
          1-1 pages 2-24 for any supporting statements Plaintiff failed to mention.
       c. Training Programs:
          It shall be an unlawful employment practice for any employer, labor
          organization, or joint labor-management committee controlling apprenticeship
          or other training or retraining, including on-the-job training programs to
          discriminate against any individual because of his race, color, religion, sex, or
          national origin in admission to, or employment in, any program established to
          provide apprenticeship or other training.
          Plaintiff made a statement describing Defendants unlawful training
          employment practices, please see Plaintiffs Supplemental Statement of
          Claim submitted herein, Plaintiffs Amended Complaint Cause No. 3:22-cv-
          02188-D-BN, Dkt 12 pages 2-26; and Plaintiffs Original Petition Cause No.
          3:23-cv-00799-K Dkt. 1-1 pages 2-24 for any supporting statements Plaintiff
          failed to mention.

61. 42 U.S.C 2000e-2(m)

   Impermissible consideration of race, color, religion, sex, or national origin in
   employment practices

   Except as otherwise provided in this subchapter, an unlawful employment practice is
   established when the complaining party demonstrates that race, color, religion, sex, or
   national origin was a motivating factor for any employment practice, even though
   other factors also motivated the practice.

              Plaintiff Opposed Defendants Unlawful Prohibited Practices




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                                  Conflict with Public Policy


62. 29 U.S.C Sec. 102 Public Policy Labor Matters Declared the individual unorganized
    worker is commonly helpless to exercise actual liberty of contract and to protect his
    freedom of labor, and thereby to obtain acceptable terms and conditions of
    employment, wherefore, though he should be free to decline to associate with his
    fellows, it is necessary that he have full freedom of association, self-organization, and
    designation of representatives of his own choosing to negotiate the terms and
    conditions of his employment, and that he shall be free from the interference,
    restraint, or coercion of employers of labor, or their agents, in the designation of such
    representative or in self-organization or in other concerted activities for the purpose
    of collective bargaining or other mutual aid or protection; therefore, the following
    definitions of , and limitations upon, the jurisdiction and authority of the courts of the
    United States are enacted.
63. 29 U.S.C Sec. 103 Non-enforceability of undertaking in conflict with public policy;
    plaintiff has the right to negotiate the terms. “any other undertaking or promise in
    conflict with the public policy declared in section 102 of this title, is declared to be
    contrary to the public policy of the United States, shall not be enforceable in any
    court of the United States and shall not afford any basis for the granting of legal or
    equitable relief by any such court, including specifically the following:




                 B. Facts Alleging Actionable Claim of Discrimination
64. Response to courts Finding, Conclusion, and Recommendation page 4 ID 223
    paragraph 4 line 1-3 cause no. 3:22-cv-2188-D-BN, “Chapman fails to provide
    factual content to show that she was treated worse than an employee who exhibited
    similar shortcomings, to raise an inference that the disparate treatment Chapman
    alleges was because of a protected class”.
65. Plaintiff restates, because Plaintiff is (black), because she opposed hostile, prejudiced
    treatment committed by Defendants, Defendants failed to promote her and discharged
    her from her employment in retaliation for her opposing the hostile, prejudiced
    treatment. (Please see Plaintiffs Supplemental Statement of Claim for reference to the
    treatment of Defendants, to named Defendants, named Defendants capacities, and for




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   reference to Plaintiffs asserted reasons Defendants actions are discriminatory because
   of her race.
   Plaintiff asks the court to incorporate, and or refer to Plaintiffs Supplemental
   Statement of Claim submitted herein, Plaintiffs Amended Complaint Cause No.
   3:22-cv-02188-D-BN, Dkt 12 pages 2-26; and Plaintiffs Original Petition Cause No.
   3:23-cv-00799-K Dkt. 1-1 pages 2-24 for any supporting statements Plaintiff failed to
   mention.
                            Remedies Available Under Title VII
1. Title VII covers all aspects of the employer employee relationship including but not
   limited to recruiting, interviewing, hiring, training, disciplining, promoting, making
   job assignments, providing benefits, and firing. Employers cannot make employment
   decision about workers based on the assumption or stereotypes that they might have
   about the worker’s protected characteristics. Example: an employer cannot refuse to
   promote a female employee based on the supervisor’s belief that women are not
   effective leaders.
2. Plaintiff contends she is entitled to relief under Title VII of the Civil Rights Act of
   1964, 42 U.S.C. 2000e et seq and all its related past history including but not limited
   to Sec. 2000e-2. [Section 703] stating:

       (a) Employer practices
       It shall be an unlawful employment practice for an employer –

       (1) to fail or refuse to hire or to discharge any individual, or otherwise to
       discriminate against any individual with respect to his compensation, terms,
       conditions, or privileges of employment, because of such individual's race, color,
       religion, sex, or national origin; or

       (2) to limit, segregate, or classify his employees or applicants for employment in
       any way which would deprive or tend to deprive any individual of employment
       opportunities or otherwise adversely affect his status as an employee, because of
       such individual's race, color, religion, sex, or national origin.


       (d) Training programs
       It shall be an unlawful employment practice for any employer, labor organization,
       or joint labor-management committee controlling apprenticeship or other training
       or retraining, including on-the-job training programs to discriminate against any
       individual because of his race, color, religion, sex, or national origin in admission




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       to, or employment in, any program established to provide apprenticeship or other
       training.
66. Plaintiff contends according to Fed. R. Civ. Proc. 8 a pleading that states a claim for
    relief must contain (1) a short and plain statement of(a) the grounds for the court’s
    jurisdiction unless the court already has jurisdiction and the claim needs no new
    jurisdictional support (2) a short and plain statemen of the claim showing that the
    pleader is entitled to relief and (3) a demand for the relief sought, which may include
    relief in the alternative or different types of relief.5
The court is requiring Plaintiff to explain discrimination, racism and prejudice and
Plaintiff contends EEOC has already determined discrimination, and what racial
prejudice is. 6
67. Plaintiff has made a clear and concise statement of the issues complained of in this
    action.
68. Plaintiff made a statement of a set of detailed events of what, where, who, and when.
Plaintiff has made a statement of judicial relief sought although it may not be perfected.7




                          Declaratory Injunctive Relief
69. 28 U.S.C. Sec. 2201(a)
As determined by the administering authority, any court of the United States, upon the
finding of an appropriate pleading, may declare the rights and other legal relations of any
interested party seeking such declaration, whether or not further relief is or could be
sought.
28 U.S.C. Sec. 2202
Further necessary or proper relief based on a declaratory judgment or decree may be
granted, after reasonable notice and hearing, against any adverse party whose rights have
been determined by such judgment.




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           Edward B. Marks M. v. Charles K. Harris M.P 255 F. 2d 518 (2d Cir. 1958) interpreting
           Sec. 2202 to mean that “the further relief sought-monetary recompense-need not have
           been demanded, or even proved, in the original action for declaratory relief.

1
    Title VII of the Civil Rights Act of 1964 | U.S. Equal Employment Opportunity Commission (eeoc.gov)
2
    Kirby v. Travelers Ins. Co. 370 S.W.2d 912 (Tex. Civ. App. 1963)
3
    National Labor Relations Board-Administrative Judge Opinions 16-CA-144548 (N.L.R.B. Nov. 16, 2018)
4
    National Labor Relations Board-Administrative Judge Opinions 16-CA-144548 (N.L.R.B. Nov. 16, 2018)
5
  Rule 8. General Rules of Pleading | Federal Rules of Civil Procedure | US Law | LII / Legal Information Institute
(cornell.edu)
6
    Title VII of the Civil Rights Act of 1964 | U.S. Equal Employment Opportunity Commission (eeoc.gov)
7
 2 U.S. Code § 1311 - Rights and protections under title VII of Civil Rights Act of 1964, Age Discrimination in
Employment Act of 1967, Rehabilitation Act of 1973, and title I of Americans with Disabilities Act of 1990 | U.S.
Code | US Law | LII / Legal Information Institute (cornell.edu)



                                                         Prayer
Plaintiff now prays the Court will grant her leave to proceed with her complaint and hereby
objects to the Courts Findings, Conclusions, and Recommendation.
Done this 12th day of June 2023.
                                                                                                   Sonya Chapman
                                                                                                               Pro Se
                                                                                             Sonya Chapman
                                                                                                 1533 Honey Trl
                                                                                            Glenn Heights, Texas
                                                                                                           75154
                                         CERTIFICATE OF SERVICE


           I, Sonya Chapman do hereby certify that I have submitted an electronic copy via the
           courts website and the same is made available to the Attorney for Defendant Brent Sedge
           at the following address; 500 N. Akard Street, Suite 3550, Dallas, Texas 75201
           This 12th day of June, 2023.




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